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UNIVERSITY OF MINNESOTA

 

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May 24, 2019

Honorable Chief Judge Gary Spraker

United States Bankruptcy Court, District of Alaska

Att: Ms. Janet Stafford, Clerk of Court Fil Fi)
Historical Courthouse 605 West Fourth Ave, Suite 138 -

Anchorage, AK 99501 MAY 3 I 2019
CLERK
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Re: Request for PACER Fee Exemption ay UPToy Covat

Dear Honorable Chief Judge Gary Spraker:

i am writing to request an exemption from payment of the PACER per page fees. |am an Assistant Professor of
Finance at the University of Minnesota Twin Cities. Currently, | am working on personal bankruptcy for my
research, and | qualify under the PACER rules as an individual researcher associated with an academic

institution. | am requesting this exemption, applicable to PACER account number 4489599, username
jacellycespedes, through May 30, 2020.

My specific research question is to estimate the marginal effect of debt relief from the bankruptcy system on
debtors’ post-filing outcomes (e.g., marital status) and the effects of non-judicial collection protection for
debtors whose bankruptcy cases were dismissed. These questions are of interest since the bankruptcy system
is the most important debt relief program in the country, in which households, for example, receive funds
greater than all state unemployment insurance programs combined. Finally, there is still little research that
documents the post-filing effects of bankruptcy protection on American Households (e.g., stopping creditor
harassment).

For this research project, | need to collect data related to the filers’ characteristics at the time of filing (e.g.,
Chapter filed, filed date, household composition, and financial characteristics) for cases filed between 2006 to
2016. This information is publicly available in the PACER files.

An exemption is necessary for me to be able to successfully complete my research project. Without an
exemption, the cost of accessing the bankruptcy files is prohibitive. | expect to complete this study in 2020.

| agree that any data received through this exemption will not be sold for profit, will not be transferred, will
not be used for commercial purposes, and will not be redistributed via the Internet. | am attaching for your
convenience a copy of an Affidavit attesting to my eligibility for the exemption.

Thank you for your time and consideration.

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Driven to Discover™
Academic Researcher Exemption Request

Application for Exemption from the
Judicial Conference’s Electronic Public Access
Fees in the District of Alaska

In support of this application, I provide the following:

1) Iam an individual researcher associated with University of Minnesota Twin Cities,
Carlson School of Management.

2) The data received will be used in my research project:

The specific research question is to estimate the marginal effect of debt relief from the
bankruptcy system on debtors’ post-filing outcomes (e.g., marital status) and the effects of

non-judicial collection protection for debtors whose bankruptcy cases were dismissed.
These questions are of interest since the bankruptcy system is the most important debt relief

program in the country, in which households, for example, receive funds greater than all
state unemployment insurance programs combined. Finally, there is still little research that
documents the post-filing effects of bankruptcy protection on American Households (e.g.

stopping creditor harassment).

(Attach additional sheets as necessary)

3) An exemption from the Judicial Conference’s Electronic Public Access Fee is
necessary in order to avoid unreasonable burdens and to promote public access to
information.

4) I understand that this fee exemption will apply only to me, will be valid only
for the purposes stated above, and will apply only to the electronic case files ofthis
court that are available through the PACER service.

5) I agree that any data received through this exemption will not be sold forprofit,
will not be transferred, will not be used for commercial purposes, and will not be
redistributed via the Internet.

Declaration: I declare that the above information is true and understand that a false
statement may result in abolishment of my exempt access and an assessment of Electronic
Public Access usage fees. }

Date: 5/25/2019

 

Applicant’s signature
PACER account number: 4489599

 

PACER username: jacellycespedes
Jacelly Cespedes
Printed name
Case 06-60001 Filed 05/31/19 Entered 05/31/19 13:59:09 Doc#46 Page 3 of 30

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